1    TERRY A. DAKE, LTD.
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2    Phoenix, Arizona 85068-6945
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3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )      In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)      Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                            CERTIFICATE OF NO OBJECTION
12
                I, TERRY A. DAKE, do hereby certify that as indicated on the
13
     Certificate of Mailing on the Objection To Claim No. 20 And Notice Of
14
     Bar Date (Admin. Dkt. No. 207) that such notice was mailed to the
15
     creditor set forth therein.
16
                I further certify that the objection bar date has passed and
17
     that no objections have been received by counsel for the trustee.
18
                The trustee requests that the order submitted herewith be
19
     entered by the Court.
20
                DATED February 16, 2023.
21
                                      TERRY A. DAKE, LTD.
22

23                                    By /s/ TD009656
                                        Terry A. Dake
24                                      P.O. Box 26945
                                        Phoenix, Arizona 85068-6945
25                                      Attorney for Trustee

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